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13   Attorneys for Plaintiff and the alleged Classes
14
15                       UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
17
18   Edwardo Munoz, individually and on
19
     behalf of all others similarly situated,
                                                Case No. 2:18-cv-03893-RGK-AGR
20
                               Plaintiff,
            v.
21                                                JOINT STIPULATION TO
22
     7-Eleven, Inc., a Texas corporation,         CONTINUE HEARING RE:
                                                  MOTION FOR CLASS
23                               Defendant.       CERTIFICATION
24
                                                  Complaint Filed: May 15, 2018
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 1   TO THE HONORABLE COURT AND THE CLERK OF THE COURT:
 2         Pursuant to Local Civil Rules L.R. 7-1 and L.R. 7-11, Edwardo Munoz
 3   (“Plaintiff” or “Munoz”) and 7-Eleven, Inc. (“Defendant” or “7-Eleven”)
 4   (collectively with Plaintiff, the “Parties”), by and through their respective counsel
 5   of record, hereby stipulate and request that the Court enter an Order as follows:
 6   WHEREAS, Plaintiff commenced this action on May 15, 2018;
 7   WHEREAS, on July 23, 2018, Defendant filed and served its Notice of Motion and
 8   Motion to Dismiss, which is presently set for hearing on August 27, 2018;
 9   WHEREAS, on August 13, 2018, Plaintiff filed and served his Notice of Motion
10   and Motion for Class Certification, which is presently set for hearing on September
11   10, 2018 [Dkt. #33];
12   WHEREAS, the Parties agree to continue the briefing and the hearing regarding
13   Plaintiff’s Motion for Class Certification until after the hearing on Defendant’s
14   Motion to Dismiss,
15   WHEREAS, this stipulation is not entered into for the purpose of delay;
16   WHEREAS, the Parties have not previously requested any continuances in this
17   matter;
18   WHEREAS, no scheduling order has been entered and no trial date has been set for
19   this case and the Parties believe that the granting of the herein requested
20   continuance will not have any effect on the schedule for the case;
21   NOW THEREFORE, in consideration of the foregoing, the Parties, by and
22   through their undersigned counsel, hereby stipulate, agree and request that the Court
23   enter an Order as follows:
24                1.      That the hearings on Plaintiff’s Motion for Class Certification be
25   vacated and continued to October 15, 2018 at 9:00 a.m.;
26   ///
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                       Joint Stipulation to Continue Hearing Re Motion for Class Certification
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     IT IS SO STIPULATED.

 3   Dated: August 16, 2018          WOODROW & PELUSO, LLC
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 5
                                     By:     /s/ Patrick H. Peluso
                                           Patrick H. Peluso
 6
 7                                   Counsel for Plaintiff and the Alleged Classes
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     Dated: August 16, 2018          CALL & JENSEN
 9
10                                   By:      /s/ Julie Trotter
11                                        Julie Trotter
12
13                                   Counsel for Defendant
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16                    ATTESTATION PER LOCAL RULE 5-4.3.4(a)(2)
17         Pursuant to LR 5-4.3.4(a)(2), I, Patrick H. Peluso, hereby certify and attest
18   that on August 16, 2018, Julie Trotter authorized me to file this Joint Stipulation
19   And [Proposed] Order to Continue Hearing on Plaintiff’s Motion for Class
20   Certification.
21
22   Dated: August 16, 2018                                    /s/ Patrick H. Peluso
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                       Joint Stipulation to Continue Hearing Re Motion for Class Certification
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 1
                                CERTIFICATE OF SERVICE
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           The undersigned hereby certifies that a true and correct copy of the above
 3
     titled document was served upon counsel of record by filing such papers via the
 4
     Court’s ECF system on August 16, 2018.
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                                                            /s/ Patrick H. Peluso
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                     Joint Stipulation to Continue Hearing Re Motion for Class Certification
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